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SUPERVISED RELEASE/PROBATION VIOLATION HEARING:

Time Set:            2:00 p.m.                          Date:                      December 17, 2020
Started:                                                Presiding Judge:           Lawrence R. Leonard, USMJ
Ended:                                                  Courtroom Deputy:          L. Woodcock
                                                        Reporter:                  FIR
                                                        U.S. Attorney:             Darryl Mitchell
                                                        Defense Counsel:        James Theuer
                                                        (X) Retained ( ) Court appointed ( ) AFPD
                                                        Interpreter:
                                                        U.S. Probation Officer:    Steve Armitage

Case Number:            2:20cr59
USAv                    Brian Taylor Sumner

(X) Matter came on for violation of ( ) Probation         (X) Pretrial Release.
  ;)   Defendant present. ( ) in custody)( ) Not in custody(^) Defendant failed Jo appear
       Government motion for warrant( ) Granted { )
       Counsel desired.                                     ''fn
       Financial Affidavit executed and filed in open Court.
       Court ( ) Directed ( ) Denied appointment of counsel.
       Defendant to retain counsel:
       Defendant motion to continue ( ) Granted        ( ) Denied
       { ) Probation Violation Hearing ( ) Supervised Release Violation Hearing reset for
              at         before U.S. Magistrate Judge
       Deft, stipulated to violations in Petition. ( ) w/exception of:
       Evidence presented ( ) Argued.( ) Statement of defendant.( ) Statement of defendant waived.
       Court finds defendant guilty of violating terms of { ) Supervised Release ( ) Probation and revokes same.
       Court finds defendant guilty of violating terms of { ) Supervised Release ( ) Probation
       and continues defendant on supervision.
       Defendant continued on { ) Supervised Release ( ) Probation with ( ) additional conditions
       of release:
       Defendant, committed to custody of Bureau of Prisons for a term of:
       { ) to be released at 5:00 p.m. today.
       Court extends ( ) Supervised Release ( ) Probation for a term of:
       Defendant remanded to custody of U.S. Marshal.
       Probation terminated.
       Violation Petition dismissed by the ( ) Court ( ) Government
       Defendant previously placed on Probation pursuant to 18:3607. Court finds defendant guilty of violating terms of
       Probation and revokes same. Defendant sentenced on original charge:
( ) Jail:                            ( ) Probation :         ( ) Fine:            S/A
